Case 1:04-CV-01255-RL.]-egb Document 17 Filed 04/26/05 Page 1 of 3 Page|D 20

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IN THE UNITEI) sTATEs DISTRICT CoURT """‘ '-
FOR THE WESTERN I)ISTRICT 0F TENNESSEE 05 APR 35 PH 31
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HC‘.» d 1_ 13 _? all F_RO!
REGINALD CHARLES, ) (;.VDH” _”3:` 1313 13151%)1
3 ~"MKS ON
Plaintiff, )
)
v. ) No. 04-1255 T/An
)
THE PROCTER & GAMBLE )
MANUFACTURING Co., )
)
Defendant. )

 

ORDER GRANTING MOTION TO COMPEL

 

Bet`ore the Court is Defendant’s Motion to Compel Plaintit`f to Amend Discovery
Responses filed on March 25, 2005. Plaintiff failed to tile a response to the motion as required
by Local Rule 7.2(a)(2). “Failure to timely respond to any motion, other than one requesting
dismissal of a claim or action, may be deemed good grounds for granting the motion." Local
Rule 7.2(a)(2). As such, for good cause shown and because Plaintiff did not respond, the Motion
is GRANTED.

Plaintiff is ordered to (l) provide complete responses to Defendant’s First Set of Requests
for Production Within ll days of entry of this Order; (2) provide complete responses to
lnterrogatory Nos. l, 2, 3, 6, 8, 9, 10, 12, 13, 14, 15 and 19 in Defendant’s First Set of
Interrogatories within ll days of entry of this Order; and (3) execute and produce Medical
Releases for all physicians, psychiatrists, psychologists, oounselors, nurses or other healthcare

practitioners by whom Plaintiff has been treated or examined since January l, 1997 within ll

Thls document entered on the docket sheet in compliance

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days of entry of this Order. Plaintift` is reminded that the failure to comply with an Order of the

Court can be grounds for the imposition of sanctions.

é.W-,mrtr @»J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: @ g%l_ ?,Ootj/

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l7 in
case l:04-CV-01255 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

R. LaWrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Stephen D. Wakefield

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38 l 77--500

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Honorable J ames Todd
US DISTRICT COURT

